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                                           Slip Op. 22-

               UNITED STATES COURT OF INTERNATIONAL TRADE


 PRO-TEAM COIL NAIL ENTERPRISE,
 INC. AND PT ENTERPRISE INC.,

                   Plaintiffs,

 UNICATCH INDUSTRIAL CO., LTD, TC
 INTERNATIONAL, INC., HOR LIANG
 INDUSTRIAL CORP., ROMP COIL
 NAILS INDUSTRIES INC., AND
 PRIMESOURCE BUILDING
 PRODUCTS, INC.,

                   Consolidated Plaintiffs,

              and
                                                  Before: Mark A. Barnett, Chief Judge
                                                  Consol. Court No. 18-00027
 S.T.O. INDUSTRIES, INC.,

                   Plaintiff-Intervenor,

              v.

 UNITED STATES,

                   Defendant,

              and

 MID CONTINENT STEEL & WIRE, INC.,

            Defendant-Intervenor.


                                             OPINION

[Sustaining Commerce’s use of the expected method in its calculation of the non-
selected respondents’ rate in this antidumping duty review of certain steel nails from
Taiwan]

                                                                 Dated: July 15, 2022
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Ned H. Marshak, Max F. Schutzman, and Andrew T. Schutz, Grunfeld, Desiderio,
Lebowitz, Silverman & Klestadt LLP, of New York, NY, for Consolidated Plaintiffs Hor
Liang Industrial Corp. and Romp Coil Nails Industries Inc.

Sosun Bae, Senior Trial Attorney, Commercial Litigation Branch, Civil Division, U.S.
Department of Justice, of Washington, DC, for Defendant United States. With her on
the brief were Brian M. Boynton, Acting Assistant Attorney General and Patricia M.
McCarthy, Director. Of counsel on the brief was Vania Wang, Attorney, Office of the
Chief Counsel for Trade Enforcement and Compliance, U.S. Department of Commerce,
of Washington, DC.

Adam H. Gordon and Ping Gong, The Bristol Group PLLC, of Washington, DC, for
Defendant-Intervenor Mid Continent Steel & Wire, Inc.

       Barnett, Chief Judge: This consolidated action is before the court on the U.S.

Department of Commerce’s (“Commerce” or “the agency”) third remand results in the

first administrative review of the antidumping duty order on certain steel nails from

Taiwan. See Results of [Third] Redetermination Pursuant to Court Remand (“Third

Remand Results”), ECF No. 127-1; see generally Certain Steel Nails From Taiwan, 83

Fed. Reg. 6,163 (Dep’t Commerce Feb. 13, 2018) (final results of antidumping duty

admin. review and partial rescission of admin. review; 2015–2016) (“Final Results”),

ECF No. 20-2, and accompanying Issues and Decision Mem., A-583-854 (Feb. 6,

2018), ECF No. 20-3. 1 The court has previously issued three opinions resolving



1 The administrative record associated with the Third Remand Results is divided into a
Public Administrative Remand Record, ECF No. 128-2, and a Confidential
Administrative Remand Record, ECF No. 128-3. Parties submitted joint appendices
containing record documents cited in their comments on the Third Remand Results.
See Confidential Third Remand J.A. (“RCJA”), ECF No. 136; Public Third Remand J.A.
(“RPJA”), ECF No. 137. The court references the confidential version of the relevant
record documents, unless otherwise specified. The RCJA and RPJA also contain
documents from the administrative record associated with the Final Results, which was
divided into a Public Administrative Record (“PR”), ECF No. 20-4, and a Confidential
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substantive issues in this case; familiarity with these opinions is presumed. See Pro-

Team Coil Nail Enter. v. United States (“Pro-Team III”), 45 CIT __, 532 F. Supp. 3d

1281 (2021); Pro-Team Coil Nail Enter. v. United States (“Pro-Team II), 44 CIT __, 483

F. Supp. 3d 1242 (2020); Pro-Team Coil Nail Enter. v. United States (“Pro-Team I”), 43

CIT __, 419 F. Supp. 3d 1319 (2019).

      After three remand determinations, the issue remaining before the court is

whether Commerce properly determined the antidumping duty rate to be applied to

respondents that were not selected for individual examination (i.e., the non-selected

respondents). As discussed below, pursuant to these remand determinations,

Commerce has assigned rates based on total adverse facts available 2 to two selected

respondents, calculated a zero percent margin for a third selected respondent, and

calculated the weighted average of these three rates to apply to the non-selected

respondents. Some of the non-selected respondents, Hor Liang Industrial Corp. and




Administrative Record (“CR”), ECF No. 20–5. The court also cites to documents from
the Confidential Joint Appendix (“CJA”), ECF No. 55, previously submitted to the court
in conjunction with the parties’ Rule 56.2 filings.
2 The phrase “adverse facts available” (or “AFA”) is often used by parties and

Commerce to refer to Commerce’s reliance on facts otherwise available with an adverse
inference to reach a final determination. In order to rely on AFA, Commerce must first
identify why it needs to rely on facts otherwise available, and second, must explain how
a party failed to cooperate to the best of its ability so as to warrant the use of an
adverse inference when selecting from those facts. See 19 U.S.C. § 1677e(a)–(b).
“Total adverse facts available” refers to situations in which Commerce finds that none of
a party’s reported information is reliable or useable and, because of that party’s failure
to cooperate to the best of its ability, that Commerce must use an adverse inference
with respect to all categories of reported information. Zhejiang DunAn Hetian Metal Co.
v. United States, 652 F.3d 1333, 1348 (Fed. Cir. 2011) (citation omitted); see also Nat’l
Nail Corp. v. United States, 43 CIT __, __, 390 F. Supp. 3d 1356, 1374 (2019).
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Romp Coil Nails Industries (together, “Plaintiffs”) challenge that rate as not reasonably

reflective of their potential dumping margins and, therefore, not based on substantial

evidence. Confidential Consol. Pls.’, Hor Liang Indus. Corp. & Romp Coil Nails Indus.

Inc., Cmts. on Redetermination (“Opp’n Cmts.”) at 6–10, ECF No. 129. Defendant

United States and Defendant-Intervenor Mid Continent Steel & Wire, Inc. submitted

comments urging the court to sustain the rate calculated in the Third Remand Results.

See generally Confidential Def.’s Resp. to the [Opp’n Cmts.], ECF No. 134; Def.-Int. Mid

Continent Steel & Wire, Inc.’s Cmts. in Support of [Third Remand Results], ECF No.

133.

       For the reasons that follow, the court affirms Commerce’s determination of the

non-selected respondents’ rate using the so-called expected method. 3

                                      BACKGROUND

       In this administrative review, Commerce selected three respondents for individual

examination (i.e., the “mandatory respondents”): Pro-Team Coil Nail Enterprise, Inc.

(“Pro-Team”); Unicatch Industrial Co., Ltd. (“Unicatch”); and Bonuts Hardware Logistics

Co., LLC (“Bonuts”). Third Remand Results at 3. Commerce initially used AFA (the

petition rate) to determine the dumping rates for each of the mandatory respondents.

See id. at 3. Bonuts did not challenge the AFA rate it was assigned. See Pro-Team I,




3As explained in greater detail below, the “expected method” refers to the preferred
method for calculating all-others rates when individually investigated exporters and
producers receive dumping margins that are zero, de minimis, or based on facts
available. In such instances, Commerce is expected to calculate the all-others rate by
using a weighted average of the rates assigned to the individually investigated parties.
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419 F. Supp. 3d at 1323–25. Over the course of this litigation, Commerce continued to

use the AFA rate for Unicatch and calculated a dumping margin of zero percent for Pro-

Team, each of which has been sustained by this court. See Pro-Team III, 532 F. Supp.

3d at 1294 (sustaining Commerce’s selection of the petition rate as AFA for Unicatch);

Pro-Team II, 483 F. Supp. 3d at 1252 (sustaining Commerce’s calculation of a zero

percent dumping margin for Pro-Team). To calculate the non-selected respondents’

rate, in the second remand results, Commerce used a simple average of the mandatory

respondents’ rates. See Final Results of [Second] Redetermination Pursuant to Court

Remand at 12, ECF No. 99-1.

      In Pro-Team III, the court remanded Commerce’s use of a simple average to

calculate the rate for non-selected respondents. 532 F. Supp. 3d at 1294. The court

found that substantial evidence did not support Commerce’s departure from the

“expected method” (i.e., using a weighted average to calculate the non-selected

respondents’ rate) because Commerce had not explained why the U.S. Customs and

Border Protection (“CBP”) import volume data it had relied on for selecting mandatory

respondents was not reliable for the purpose of calculating a dumping rate using the

“expected method.” Id. at 1293–94.

      In the Third Remand Results, Commerce determined that it was feasible to rely

on the CBP import volume data. Third Remand Results at 7–8. Thus, Commerce

determined the dumping margin for non-selected respondents by calculating a weighted

average of the margins of the mandatory respondents. Id. This use of the expected
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method resulted in an antidumping duty rate of 35.30 percent for the non-selected

respondents. See id. at 17.

       Commerce explained that this rate was reasonably reflective of Plaintiffs’

dumping margins because there was no indication that mandatory respondents were

not representative of non-selected companies. Id. Commerce also explained that there

was no evidence that the 35.30 percent rate was not reasonably reflective of Plaintiffs’

dumping margins because Plaintiffs were not individually examined in the investigation,

and the rate assigned to both non-cooperating mandatory respondents had been

corroborated using data from Pro-Team. See id. at 18. Commerce further found that

there was no evidence that the rate determined using the expected method was

punitive. Id. at 18–19.

       Commerce rejected Plaintiffs’ arguments that Bonuts’ margin should not be

included in determining the rate for non-selected respondents. Id. at 15. Commerce

stated that Bonuts was chosen as a mandatory respondent because it was an exporter

or producer accounting for the largest volume of subject merchandise during the period

of review, and that case law supported the assumption that mandatory respondents are

representative of non-examined respondents absent substantial evidence to the

contrary. Id. at 15–16.

       Finally, Commerce rejected Plaintiffs’ suggestion that it should reopen the record

to allow parties to submit data “necessary to obtain a ‘reasonable’ rate for [Plaintiffs].”

Id. at 19. Commerce explained that no additional information was required to determine

the non-selected respondents’ rate. Id.
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                          JURISDICTION AND STANDARD OF REVIEW

       The court has jurisdiction pursuant to section 516A(a)(2)(B)(iii) of the Tariff Act of

1930, as amended, 19 U.S.C. § 1516a(a)(2)(B)(iii) (2018), 4 and 28 U.S.C. § 1581(c).

The court will uphold an agency determination that is supported by substantial evidence

and otherwise in accordance with law. 19 U.S.C. § 1516a(b)(1)(B)(i).

                                         DISCUSSION

       At issue is whether Commerce’s use of the expected method to determine the

non-selected respondents’ rate is supported by substantial evidence and otherwise in

accordance with law when Commerce calculated the rate in part using AFA rates

assigned to mandatory respondents. The court recently addressed a similar issue in an

opinion dismissing a challenge to the results of the fourth administrative review of this

order. See PrimeSource Bldg. Prods., Inc., v. United States, Slip Op. 22-73, 2022 WL

2176270 (CIT June 16, 2022). The court incorporates and restates much of the

reasoning articulated in that opinion in rejecting Plaintiffs’ challenge to the Third

Remand Results.

       I.   Legal Framework

       The statute is silent regarding how to determine the rate for companies not

selected for individual examination in an administrative review. In determining the rates




4All citations to the Tariff Act of 1930, as amended, are to Title 19 of the U.S. Code,
and references to the U.S. Code are to the 2018 edition, unless stated otherwise.
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for such companies, Commerce looks to 19 U.S.C. § 1673d(c)(5) for guidance. 5 See,

e.g., Albemarle, 821 F.3d at 1352 & n.6. Section 1673d(c)(5)(A) provides that the “all-

others rate” assigned to non-examined companies is calculated as “the weighted

average of the estimated weighted average dumping margins” assigned to individually-

examined companies, “excluding any zero and de minimis margins, and any margins

determined entirely under section 1677e of this title [i.e., on the basis of adverse facts

available].” 19 U.S.C. § 1673d(c)(5)(A).

       When the dumping margins assigned to all individually examined companies are

zero, de minimis, or based on facts available, the statute further provides that

Commerce “may use any reasonable method to establish the estimated all-others rate

for exporters and producers not individually investigated, including averaging the

estimated weighted average dumping margins determined for the exporters and

producers individually investigated.” Id. § 1673d(c)(5)(B).

       The Statement of Administrative Action accompanying the Uruguay Round

Agreements Act, which Congress has approved as an authoritative interpretation of the




5 By its terms, 19 U.S.C. § 1673d applies to market economy investigations, not
administrative reviews. As a general rule, however, Commerce looks to § 1673d(c)(5)
for guidance when calculating the rate for non-examined companies in administrative
reviews—be it the “all-others” rate in a market economy proceeding or the “separate
rate” in a non-market economy proceeding. See, e.g., Albemarle Corp. v. United
States, 821 F.3d 1345, 1352 & n.6 (Fed. Cir. 2016). Jurisprudence for determining the
rate applicable to non-selected, separate rate respondents in a nonmarket economy
proceeding is relevant to determining non-selected respondents’ rates in a market-
economy proceeding. See id. at 1373–74 (discussing the market-economy rule
alongside the nonmarket-economy rule); Bosun Tools Co. v. United States, No. 2021-
1929, 2022 WL 94172, at *2–3 & n.2 (Fed. Cir. Jan. 10, 2022) (unpublished) (same).
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statute, id. § 3512(d), provides an “expected method” to determine the all-others rate in

these situations, Uruguay Round Agreements Act, Statement of Administrative Action,

H.R. Doc. No. 103–316, vol. 1, at 873 (1994), reprinted in 1994 U.S.C.C.A.N. 4040,

4201 (“SAA”). When the dumping margins for all individually investigated exporters and

producers are determined entirely on the basis of facts available or are zero or de

minimis, “[t]he expected method in such cases will be to weight-average the zero and

de minimis margins and margins determined pursuant to the facts available, provided

that volume data is available.” Id. The SAA further provides that “if this method is not

feasible, or if it results in an average that would not be reasonably reflective of potential

dumping margins for non-investigated exporters or producers, Commerce may use

other reasonable methods.” Id.

       As the court discussed in PrimeSource, 2022 WL 2176270, at *4–7, prior

litigation surrounding these statutory provisions and corresponding portions of the SAA

provides the backdrop to the court’s consideration of this issue. Case law confirms that

when Commerce relies on 19 U.S.C. § 1677f-1(c)(2) to select the largest exporters by

volume for individual examination, it does so based on a statutorily supported

assumption that the data from the largest exporters may be viewed as representative of

all exporters. See Albemarle, 821 F.3d at 1353; Changzhou Hawd Flooring Co. v.

United States, 848 F.3d 1006, 1012 (Fed. Cir. 2017). This respondent selection

exercise occurs early in the administrative proceeding before questionnaires are issued

and is based on the respondents’ export volumes, not the results of the agency’s

dumping margin analysis. See Mem. Regarding Selection of Additional Mandatory
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Respondent (Feb. 9, 2017) at 1–3, PR 76, CJA Tab 17; Respondent Selection Mem.

(Nov. 29, 2016) (“Selection Mem.”) at 1, 7–8, CR 6, PR 38, RCJA Tab 2. In other

words, the selected respondents are assumed to be representative of the non-selected

respondents without regard to whether their final antidumping duty margin is zero, de

minimis, based entirely on the use of AFA, or calculated based on the questionnaire

responses of the selected respondents. See Albemarle, 821 F.3d at 1353; Bosun, 2022

WL 94172, at *4.

      Furthermore, this assumption of representativeness carries weight when

Commerce determines the rate applicable to non-selected respondents. As mentioned

above, Commerce determines the rate for non-selected respondents consistent with 19

U.S.C. § 1673d(c)(5). Thus, Commerce will weight-average the above-de minimis

calculated rates to determine the non-selected respondent rate. 19 U.S.C.

§ 1673d(c)(5)(A). However, if the rates for all selected respondents are zero, de

minimis, or based on facts available, the SAA provides that the expected method is for

Commerce to weight-average such rates to determine the non-selected respondents’

rate. SAA at 873, reprinted in 1994 U.S.C.C.A.N. at 4201. That is to say, it is expected

that zero, de minimis, and facts available rates will be used in determining the non-

selected respondents’ rate. See id.; Bosun, 2022 WL 94172, at *4 (rejecting the

appellants’ argument that Commerce unreasonably based the separate rate, in part, on

an AFA rate as “expressly foreclosed by statute”).

      Albemarle and Changzhou Hawd confirm that the expected method is the default

method and that the burden of proof lies with the party seeking to depart from the
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expected method (or with Commerce as the case may be). In Albemarle, the U.S.

Court of Appeals for the Federal Circuit (“Federal Circuit”) concluded that “[t]he burden

is not on the separate respondents to show that their dumping is the same as that of the

individually examined respondents.” Id. In that case, however, Commerce sought to

deviate from the expected method; thus, the appellate court held that “Commerce must

find based on substantial evidence that there is a reasonable basis for concluding that

the separate respondents’ dumping is different.” Id.

       One year after the court’s decision in Albemarle, the Federal Circuit again

confirmed the relevance of the assumed representativeness of the mandatory

respondents in Changzhou Hawd. See Changzhou Hawd, 848 F.3d at 1012 (“The very

fact that the statute contemplates using data from the largest volume exporters

suggests an assumption that those data can be viewed as representative of all

exporters.”). The court again found that in order to depart from the expected method,

Commerce must identify substantial evidence that the non-selected respondents’

dumping was different from that of the mandatory respondents. See id. (“[T]he

presumption of representativeness may be overcome . . . [with] ‘substantial evidence

that there is a reasonable basis for concluding that the separate respondents’ dumping

is different.’”) (quoting Albemarle, 821 F.3d at 1353).

       Recently, in Bosun, the Federal Circuit confirmed that the representativeness of

the selected respondents is independent of the results of Commerce’s dumping margin
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analysis. 6 See 2022 WL 94172, at *4. In the review underlying Bosun, Commerce

selected the two largest respondents for examination and calculated a de minimis

dumping margin for one respondent while basing the other respondent’s rate on AFA.

Id. at *2–3. Commerce determined the rate for the non-selected respondents by finding

the simple average of these two rates. 7 See id. at *3. The Bosun court affirmed

Commerce’s inclusion of the AFA-based rate in the average assigned to the non-

selected respondents. See id. at *4. In so doing, the court recalled its discussion in

Albemarle regarding the “general assumption underlying the statutory framework”—

specifically, the assumption that data from the largest volume exporters may be viewed

as representative of all exporters, id. (quoting Albemarle, 821 F.3d at 1353)—and went

on to find that “although Albemarle concerned a case with de minimis rates rather than

AFA rates, its reasoning is equally applicable here; the same statutory language in

[section] 1673d(c)(5)(B) that permits use of de minimis rates also permits use of AFA

rates,” id. (emphasis added). 8



6 Although Bosun is an unpublished opinion, as discussed herein, this court finds the
opinion helpful to its analysis because the reasoning is consistent with and builds on the
Federal Circuit’s prior reasoning in Albemarle and Changzhou Hawd and is otherwise
persuasive.
7 By using the simple average, Commerce diverged from the expected method, which

calls for using the weighted average of the selected respondents’ rates. SAA at 873,
reprinted in 1994 U.S.C.C.A.N. at 4201. Commerce may have used a simple average
of the two respondents’ rates (in other words, giving equal weight to each rate) in order
to avoid revealing the actual volume of imports into the United States by the cooperating
respondent if such information was considered business proprietary. Regardless, the
Federal Circuit did not fault Commerce’s use of a simple average.
8 In a precedential opinion, the Federal Circuit recently upheld Commerce’s use of the

expected method to determine the non-selected respondents’ rate using the AFA rates
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      These cases all recognize an important assumption that is built into Commerce’s

statutory authority to engage in respondent selection: that the largest exporters by

volume are assumed to be representative of the non-selected respondents. Consistent

with this assumption, the cases also stand for the proposition that Commerce is

expected to use the mandatory respondents’ rates to determine the antidumping duty

rate to be assigned to the non-selected respondents.

      These concepts, representativeness and expectedness, are connected.

Representativeness allows Commerce to select certain respondents for individual

examination and, in so doing, decline to individually examine other respondents. By

allowing Commerce to focus its resources on certain respondents, the statute

necessarily creates the assumption of representativeness because Commerce often will

lack further information about the non-selected respondents. See Albemarle, 821 F.3d

at 1353. Commerce is not otherwise required to collect information about the non-

selected respondents because Commerce is permitted, in fact, expected, to treat the

mandatory respondents as representative of the non-selected respondents when it

determines the non-selected respondents’ rate.

      This assumption of representativeness, combined with the expectation that

Commerce will treat the mandatory respondents as representative of the non-selected

respondents, provides a basis for understanding the SAA language, which states that “if




of mandatory respondents in an administrative review of an antidumping duty order
involving a nonmarket economy country. Shanxi Hairu Trade Co. v. United States, No.
2021-2067, 2022 WL 2443960, at *5 (Fed. Cir. July 6, 2022).
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[the expected] method is not feasible, or if it results in an average that would not be

reasonably reflective of potential dumping margins for non-[examined] exporters or

producers, Commerce may use other reasonable methods.” SAA at 873, reprinted in

1994 U.S.C.C.A.N. at 4201.

       As discussed above, the statute clearly permits Commerce to engage in a

respondent selection process pursuant to 19 U.S.C. § 1677f-1(c) when certain

conditions have been met. Commerce engaged in that process in this administrative

review and no party challenges that decision. Having determined to examine the

largest exporters by volume in this review, the statute permits Commerce to proceed

with the review without requiring additional information from the non-selected

respondents. See, e.g., Changzhou Hawd, 848 F.3d at 1012 (discussing the statutory

authority to select respondents rather than examining every exporter). This SAA

language does not require Commerce to engage in a data collection exercise with the

non-selected respondents in order to determine their “potential dumping margins”

because such an exercise would be inconsistent with the language of 19 U.S.C.

§ 1677f-1(c) expressly permitting Commerce to “limit[] its examination” to the largest

exporters and producers by volume. 19 U.S.C. § 1677f-1(c)(2). Such an interpretation

would defeat the purpose of the respondent selection process. Nothing in the statute,

SAA, or jurisprudence suggests that such a burden exists.

       To the contrary, the courts have long recognized that the burden of establishing

relevant facts may properly be assigned to the party in control of the information

necessary to establish those facts. See, e.g., Rhone Poulenc, Inc. v. United States, 899
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F.2d 1185, 1190–91 (Fed. Cir. 1990) (placing “the burden of production on the [party]

which has in its possession the information capable of rebutting the agency’s

inference”). Thus, when, as here, the non-selected respondents are in control of the

information that would establish whether applying the expected method based on the

rates of the mandatory respondents would not reasonably reflect the potential dumping

margins of those non-selected respondents, the non-selected respondents bear the

burden of providing such evidence.

      II.   Analysis

       The court now turns to whether substantial evidence supports Commerce’s use

of the expected method. Commerce found that there was “no indication that the

selected mandatory respondents were not representative of the experience of the non-

selected companies, even when the rates were based on AFA.” 9 Third Remand Results

at 17. While Plaintiffs argue that the record shows that the mandatory respondents

were not representative of Plaintiff’s dumping margins, see Opp’n Cmts. at 6–9,

Commerce considered their arguments and concluded that Plaintiffs did not identify

evidence to support their assertion that the rate assigned to non-selected respondents

in this review is not reasonably reflective of their potential dumping margins, Third

Remand Results at 15–19.




9 Elsewhere in the Third Remand Results, Commerce erroneously stated that “the
record evidence does demonstrate that the mandatory respondents are not
representative.” Third Remand Results at 17. This appears to be a misstatement, as
the discussion that follows contemplates the mandatory respondents being
representative. Id. at 17–18.
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       Plaintiffs argue that the 35.30 percent rate assigned to non-selected respondents

is punitive and “aberrational compared to margins calculated for cooperative

respondents” in the periods before, during, and immediately after this administrative

review. Opp’n Cmts. at 6–8. While it is true that some mandatory respondents

cooperated in this and subsequent administrative reviews, resulting in calculated rates

lower than 35.30 percent, see Final Results of [First] Redetermination Pursuant to Court

Remand at 6–8, 32 (zero percent margin for Pro-Team), ECF No. 71-1; Certain Steel

Nails From Taiwan, 84 Fed. Reg. 11,506, 11,507 (Dep’t Commerce Mar. 27, 2019) (final

results of antidumping admin. review and partial rescission of admin. review; 2016–

2017) (“AR2 Final Results”) (dumping margins of zero percent and 6.16 percent for Pro-

Team and Unicatch, respectively), Plaintiffs ignore that during the same administrative

reviews, Unicatch was assigned an AFA rate once, and Bonuts twice received an AFA

rate, see Final Results, 83 Fed. Reg. at 6,164; AR2 Final Results, 84 Fed. Reg. at

11,507. Moreover, in these Third Remand Results, Commerce explained that the fact

that rates from the investigation and other administrative reviews differed from the rate

in this administrative review did not, “on its face, demonstrate that the rates in this

review are not reasonably reflective of the potential dumping margins for the companies

not individually examined.” Third Remand Results at 18. Commerce explained that the

non-selected respondent rate was not aberrant, noting that Plaintiffs failed to provide

any evidence that the weighted average of the mandatory respondents’ rates was not

reasonably reflective of the potential dumping margins for non-examined respondents,

see id., and that, furthermore, the AFA rates on which the non-selected respondent rate
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was based in part had been corroborated using data provided by Pro-Team, see id. at

17.

       Plaintiffs cite to Gallant Ocean (Thailand) Co. v. United States, 602 F.3d 1319,

1324 (Fed. Cir. 2010), to support their claim that the rates in this review are aberrantly

high when compared to the rates calculated for cooperative respondents in both the

investigation and subsequent administrative reviews. Opp’n Cmts. at 8. In Gallant

Ocean, the Federal Circuit held that it was unreasonable for Commerce to assign to a

non-cooperating exporter a rate five times higher than the next highest assigned or

calculated rate in the same review, and the rate was thus “punitive, aberrational [and]

uncorroborated.” 602 F.3d at 1323–24. Reliance on Gallant Ocean is misplaced. In

Gallant Ocean, the plaintiff directly challenged the AFA rate assigned to it, not an all-

others rate calculated using AFA rates received by mandatory respondents. 602 F.3d

at 1322. Here, the 35.30 percent rate for non-individually examined respondents is not

the highest rate determined in this administrative review; the AFA rates of 78.17 percent

received by Unicatch and Bonuts are the highest rates determined during this

administrative review. See Third Remand Results at 3–4, 17. Furthermore, while

Plaintiffs would like to disregard the 27.69 percent calculated rate received by Unicatch

in a subsequent review, see Opp’n Cmts. at 7–8; Certain Steel Nails From Taiwan, 85

Fed. Reg. 14,635, 14,636 (Dep’t Commerce Mar. 13, 2020) (final results of antidumping

duty admin. review and determination of no shipments; 2017–2018) (“AR3 Final

Results”), that rate is comparable to the 35.30 percent rate Plaintiffs contest here.

While that rate was received in the third administrative review, see AR3 Final Results,
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85 Fed. Reg. at 14,636, to the extent that Plaintiffs seek to cherry-pick rates from

subsequent administrative reviews to further their arguments, the court will not ignore

other rates from those reviews that cut against Plaintiffs’ contentions.

       Plaintiffs also contend that Commerce should have excluded Bonuts’ data from

its calculation of the non-selected respondents’ rate because record evidence showed

that Bonuts was not a representative respondent. Opp’n Cmts. at 9. Although Bonuts

requested deselection as a mandatory respondent and indicated that it believed that it

was “not representative of the business models of Taiwan nails producers,” see

Request for Deselection (Dec. 27, 2016), PR 55, RCJA Tab 3; see also Third Remand

Results at 20, Commerce determined that Bonuts failed to cooperate to the best of its

ability—a determination that was not challenged, Third Remand Results at 20.

Commerce declined to rely on Bonuts’ statement because, absent Bonuts’ cooperation,

Commerce was not able to verify Bonuts’ claim that it was not representative. Id. at 20–

21. The court finds that Commerce’s determination to include Bonuts’ data in its

calculation of the non-selected respondents’ rate is supported by substantial evidence.

       Substantial evidence also supports Commerce’s rejection of Pro-Team’s

argument that Bonuts’ entries were not classified as the same “entry type” as those

made by other Taiwanese exporters of steel nails and, therefore, were not

representative. See PT’s and Unicatch’s Comments on [CBP] Data (“Respondent
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Selection Cmts.”) (Oct. 6, 2016), CR 3, PR 30, RCJA Tab 1. 10 Commerce rejected this

distinction as irrelevant because both entry types were subject to the antidumping duty

order. See Selection Mem. at 7–8. Because both entry types are subject to the

antidumping duty order, it follows that Commerce would include both in its respondent

selection process. The court finds no error in this analysis by Commerce.

       Finally, Plaintiffs ask the court to order Commerce to reopen the record to obtain

additional data to calculate the non-selected respondent rate. See Opp’n Cmts. at 10.

While Commerce retains significant discretion to determine whether to reopen the

record on remand, in most cases, this is not something the court will require simply

based on a plaintiff’s argument that better information is available. It is incumbent upon

parties to provide relevant information in accordance with the agency’s procedures and

deadlines. The interests of finality suggest that the court should limit interfering with

those procedures and deadlines. See, e.g., Vt. Yankee Nuclear Power Corp. v. Nat.

Res. Def. Council, Inc., 435 U.S. 519, 554 (1978); Shandong Rongxin Imp. & Exp. Co.

v. United States, 41 CIT __, __, 203 F. Supp. 3d 1327, 1338 (2017). Having found that

substantial evidence supports Commerce’s use of the expected method to calculate the

rate for non-individually examined respondents, the court agrees with Commerce’s



10Specifically, Pro-Team noted that it and Unicatch were the two largest importers of
nails from Taiwan based on the entry type used for entries subject to antidumping or
countervailing duties. Respondent Selection Cmts. at 3. Pro-Team argued that
Commerce should not include an additional entry type in its respondent selection
analysis. See id. at 3–4. It was the inclusion of that additional entry type that moved
Bonuts to its rank as the second largest exporter of subject merchandise. See id. Pro-
Team argued that because Bonuts’ entries were of a different type, Bonuts was not
representative and should not be selected as a mandatory respondent. See id.
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determination that “no additional information is required for [it] to determine the

[Plaintiffs’ rates].”11 Third Remand Results at 19. There is a “statutorily supported

assumption that the data from the largest exporters may be viewed as representative of

all exporters.” PrimeSource, 2022 WL 2176270, at *4; see also Albemarle, 821 F.3d at

1353; Changzhou Hawd, 848 F.3d at 1012. As discussed above, 19 U.S.C. § 1677f-

1(c) permits Commerce to engage in respondent selection when certain conditions have

been met, and no party challenges that decision. Having determined to examine the

largest exporters by volume in this review, Commerce was under no statutory obligation

to solicit or obtain additional information from the non-selected respondents.

                                        CONCLUSION

       Based on the foregoing, the court will sustain Commerce’s Third Remand

Results. Judgment will enter accordingly.

                                                  /s/   Mark A. Barnett
                                                  Mark A. Barnett, Chief Judge

Dated: July 15, 2022
      New York, New York




11 Plaintiffs cite to MacLean-Fogg Co. v. United States, 39 CIT __, __, 100 F. Supp. 3d
1349, 1363 (2015), to support its argument that the court should direct Commerce to
reopen the record. Opp’n Cmts. at 10. Plaintiffs misread the opinion. First, the court in
MacLean-Fogg did not mandate that Commerce reopen the record. MacLean-Fogg
Co., 100 F. Supp. 3d at 1363. Furthermore, the MacLean-Fogg court remanded the
final determination in the investigation to Commerce because the court found that
necessary data in the form of public summaries and ranged figures in the public version
of submissions was absent from the record “due to Commerce’s own failure to fully
administer the legal framework.” Id. Similar circumstances do not exist here—the court
finds that Commerce had all necessary data that it was required to obtain to calculate
the non-selected respondents’ rate using the expected method.
